         Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 1 of 7




                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT

In re Edward Charles Chung, Esq., No: 23-80073
Admitted to the Bar of the Ninth Circuit:
August 1, 2018,                           RESPONDENT’S SECOND MOTION
                                          FOR EXTENSION OF TIME TO FILE
                                          REPOSNE TO ORDER TO SHOW
                                          CAUSE [ECF# 2].
                     Respondent.
Before: Schroeder, Berzon and Owens, Circuit Judges
                   I.    INTRODUCTION AND RELIEF REQUESTED

      COMES NOW, Respondent attorney, Edward C. Chung hereby respectfully

motions Ninth Circuit Court Judges Schroeder, Berzon and Owens for an additional

thirty (30) day extension to respond to this Court’s August 18, 2023 Order to Show

Cause. While Respondent has recently received confirmation of insurance coverage,

Respondent’s policy does not assign counsel and requires Respondent to select the

firm or lawyer that will appear in these disciplinary proceedings. Due to the

uniqueness of these proceedings, Respondent is still in the process of selecting




                                         1
         Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 2 of 7




counsel that is admitted into the Ninth Circuit, is familiar with Ninth Circuit

disciplinary proceedings, and has the availability to represent Respondent in this

matter. Respondent believes that a thirty (30) day extension is necessary to engage

legal counsel to confer and/or represent Respondent in filing a Response to the

August 18, 2023 Order to Show Cause or represent Respondent in the upcoming

FRAP 46 disciplinary proceedings previously requested.

                      II.    FACTUAL GROUNDS FOR MOTION

      On September 5, 2023 Respondent requested an FRAP 46 hearing and

additional time to respond to the Honorable Judge Schroeder, Berzon and Owens

August 18, 2023 Order to Show Cause. The motion was based on Respondent filing

a claim for insurance coverage for the assignment of legal counsel in relation to these

disciplinary proceedings. The Court Clerk granted this extension and reset the

Response to the Order to Show Cause to October 17, 2023. While Respondent has

recently received confirmation of insurance coverage, Respondent’s policy does not

assign counsel and requires Respondent to select the firm or lawyer that will appear

in these disciplinary proceedings. Due to the uniqueness of these proceedings,

Respondent is still in the process of selecting counsel that is admitted into the Ninth

Circuit, is familiar with Ninth Circuit disciplinary proceedings, and has the

availability to represent Respondent in this matter.

      To assure due process and to avoid prejudice, Respondent would like the

opportunity to confer with legal counsel concerning the procedural history of this

                                          2
         Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 3 of 7




case, the factual amd legal issues giving rise to these disciplinary proceedings and

have such counsel either submit a Response or represent counsel in the requested

FRAP 46 hearing to be scheduled by this panel. In consideration of the severity of

sanctions seeking to be imposed, Respondent respectfully asks that this motion be

granted and additional time afforded.

                       III.   LEGAL GROUNDS FOR MOTION

      FRAP 31-2.2 (b) provides for an extension of time to be granted upon written

motion supported by a showing of diligence and substantial need. Here, disciplinary

proceedings have been commenced on August 17, 2023 [ECF #1] and undersigned

counsel receive notice of these disciplinary proceedings on August 18, 2023 [ECF#

2]. Ninth Circuit Court Rule 46-2 (d) allows an attorney alleged to engaged in

disciplinary misconduct the right to have legal counsel represent his interest. On

September 5, 2023, undersigned counsel made an initial request for an extension of

time as he was awaiting confirmation of malpractice coverage. Since that date,

confirmation of coverage has been provided; however, due to the type of

proceedings involved, undersigned counsel is still in the process of finding counsel

familiar with the rules and procedures governing Ninth Circuit disciplinary

proceedings.

       The current date for the Respondent’s Response to the August 18, 2023 Order

to Show Cause is October 17, 2023. Respondent has requested on September 5,

2023 a FRAP 46 (c) Request for Hearing; however, in advance of this hearing and

                                         3
         Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 4 of 7




the response to order to show cause desires to confer with counsel on this matter.

Accordingly, Respondent respectfully asks for an additional thirty-day (30)

extension and believes this will be the final request for an extension on this matter.

Additionally, Respondent will be filing a motion for clarification concerning these

proceedings to assure that familiarity with the judicial process and to assure due

process is afforded.

              IV.   DECLARATION OF COUNSEL IN SUPPORT OF MOTION

   I, Edward C. Chung, Respondent in the above captioned disciplinary matter

   before the Nonth Circuit Court of Appeals of the United States, declare as

   follows:

      Since September 5, 2023 I have now received confirmation of insurance

   coverage on this disciplinary matter before the Ninth Circuit. My initial request

   for an extension was to advise the court that a claim for coverage was filed. As I

   am sure this panel may appreciate, the severity of the August 18, 2023 allegations

   and prospective disciplinary sanctions that may be imposed against me in relation

   to alleged misconduct under Ninth Circuit Court of Appeals Docket Number: 23-

   80073 are significant and could result to various types of sanctions, including but

   not limited to suspension or disbarment from this Circuit.

      Based on the foregoing, I believe good cause exists for Ninth Circuit Court

   Judges Schoeder, Berzon and Owens to allow a 30 day extension of time. I

   declare under penalty of perjury under the laws of the State of Washington that

                                          4
      Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 5 of 7




the foregoing is true and correct and that I signed this declaration on this 13th day

of September 2023.



          Respectfully submitted this 13th day of October, 2021.



                                     /s/ Edward C. Chung
                                     Edward C. Chung, WSBA# 34292
                                     CHUNG, MALHAS & MANTEL, PLLC
                                     1037 NE 65th Street, Suite 80171
                                     Seattle, Washington 98115
                                     Phone: (206) 264-8999
                                     Attorney for Appellants




                                        5
        Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 6 of 7




                       CERTIFICATE OF COMPLIANCE

      In accordance with FED. R. APP. P. 27-1 (d) 1 and (2) the foregoing motion

does not exceed 5,200 words and complies with Ninth Circuit Court formatting

requirements.

                  Date this 13th day of October 2023,


                              /s/ Edward C. Chung
                              Edward C. Chung, WSBA# 34292
                              Pro Se Counsel




                                        6
        Case: 23-80073, 10/13/2023, ID: 12809768, DktEntry: 5, Page 7 of 7




                              CERTIFICATE OF SERVICE

      I hereby certify that on October 13, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit by using the appellate CM/ECF system. Participants in the case who are

registered CM/ECF users will be served by the appellate CM/ECF system.


            Dated this 13th day of October 2023


                                /s/ Edward C. Chung
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                                         7
